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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:08CR87
                                                  )
       vs.                                        )             ORDER
                                                  )
CORLEONE M. McCURRY,                              )
                                                  )
                     Defendant.                   )



       This matter is before the court on the motion of the government for an extension of
time (Filing No. 22). The government seeks an extension of time in which to file a response
to defendant’s motion to suppress (Filing No. 20). Government’s counsel represents that
counsel for defendant Coreleone M. McCurry has no objection to the motion. Upon
consideration, the motion is granted. The government shall have to on or before April 18,
2008, in which to file a response to defendant’s motion to suppress.
       IT IS SO ORDERED.
       DATED this 3rd day of April, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
